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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION


 Midas Green Technologies, LLC,                 )
                                                )
                  Plaintiffs,                   )   Case No. 6:22-cv-00050-ADA
                                                )
        - vs. -                                 )
                                                )   Jury Trial Demanded
 Rhodium Enterprises, Inc.;                     )
 Rhodium Technologies LLC;                      )   ORAL ARGUMENT
 Rhodium 10mw LLC;                              )   REQUESTED
 Rhodium 2.0 LLC;                               )
 Rhodium 30mw LLC;                              )
 Rhodium Encore LLC;                            )
 Rhodium Industries LLC;                        )
 Rhodium JV LLC;                                )
 Rhodium Renewables LLC;                        )
 Rhodium Shared Services LLC;                   )
 Rhodium Shared Services PR Inc.;               )
 Chase Blackmon;                                )
 Cameron Blackmon; and                          )
 Nathan Nichols,                                )
                                                )
                                                )
                  Defendants.                   )


                                AMENDED SCHEDULING ORDER

       Having considered of parties’ Joint Motion for Entry of Amended Scheduling Order, the

Court finds that the motion should be GRANTED.

       IT IS THEREFORE ORDERED that the parties’ Proposed Amended Scheduling Order is

hereby granted and reflected below.

        Item                                                             Amended
                                                                         Deadline
        Fact Discovery opens; deadline to serve Initial Disclosures     Aug. 1, 2022
        per Rule 26(a).

        Midas will produce to Rhodium all of the documents,
        interrogatory responses or deposition transcripts it produced
        or provided in the Midas v. Immersion litigation on August
        5, 2022. Immersion’s production and any Immersion



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Item                                                               Amended
                                                                   Deadline
interrogatory responses or deposition transcripts in Midas v.
Immersion will be deemed produced by Immersion in this
litigation on August 1, 2022 with documents, interrogatory
responses, or deposition transcripts produced or designated
as “Confidential Information” in that litigation being
designated as “Confidential” under the Court’s Interim
Protective Order and documents produced as “Confidential
Attorney Eyes Only Information” in that litigation being
designated as “Confidential - Outside Attorneys’ Eyes
Only” under the Court’s Interim Protective Order.

In addition, the parties agree that certain email and ESI
searching is necessary and appropriate under the
circumstances of this case. By August 12, the parties shall
meet and confer to formulate a proposal regarding the scope
and method of email and ESI searching.
Deadline to add parties.                                         Nov. 7, 2022
Deadline to serve Final Infringement and Invalidity              Nov. 21, 2022
Contentions. After this date, leave of Court is required for
any amendment to infringement or invalidity contentions.
This deadline does not relieve the parties of their obligation
to seasonably amend if new information is identified after
initial contentions.
Deadline to amend pleadings. A motion is not required             Jan. 17, 2023
unless the amendment adds patents or patent claims. (Note:
This includes amendments in response to a 12(c) motion.)
Deadline for the first of two meet and confers to discuss        March 27, 2023
significantly narrowing the number of claims asserted and
prior art references at issue. Unless the parties agree to the
narrowing, they are ordered to contact the Court’s law clerk
to arrange a teleconference with the Court to resolve the
disputed issues.
Close of Fact Discovery.                                         April 24, 2023
Opening Expert Reports.                                           May 1, 2023
Rebuttal Expert Reports.                                         May 30, 2023
Close of Expert Discovery.                                       June 20, 2023
Deadline for the second of two meet and confers to discuss       June 26, 2023
narrowing the number of claims asserted and prior art




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Item                                                                Amended
                                                                    Deadline
references at issue to triable limits. If it helps the parties
determine these limits, the parties are encouraged to contact
the Court’s law clerk for an estimate of the amount of trial
time anticipated per side. The parties shall file a Joint
Report within 5 business days regarding the results of the
meet and confer.
Dispositive motion deadline and Daubert motion deadline.           July 3, 2023

See General Issues Note #7 regarding providing copies of
the briefing to the Court and the technical advisor (if
appointed).
Serve Pretrial Disclosures (jury instructions, exhibits lists,     July 17, 2023
witness lists, discovery and deposition designations).

Serve responses to dispositive motions and Daubert motions
Serve replies to dispositive motions and Daubert motions           July 24, 2023
Serve objections to pretrial disclosures/rebuttal disclosures.     July 31, 2023

Serve objections to rebuttal disclosures; file Motions in          Aug. 7, 2023
limine.
File Joint Pretrial Order and Pretrial Submissions (jury           Aug. 14, 2023
instructions, exhibits lists, witness lists, discovery and
deposition designations); file oppositions to motions in
limine.
File Notice of Request for Daily Transcript or Real Time           Aug. 21, 2023
Reporting. If a daily transcript or real time reporting of court
proceedings is requested for trial, the party or parties
making said request shall file a notice with the Court and
email the Court Reporter, Kristie Davis at
kmdaviscsr@yahoo.com

Deadline to meet and confer regarding remaining objections
and disputes on motions in limine.
Last court day for party asserting invalidity or non-              Aug. 25, 2023
infringement to give notice to adverse party of information
set forth in 35 USC 282.
Parties to jointly email the Court’s law clerk (See OGP at 1)      Aug. 1, 2023
to confirm their pretrial conference and trial dates.



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        Item                                                              Amended
                                                                          Deadline
        File joint notice identifying remaining objections to pretrial   Sept. 1, 2023
        disclosures and disputes on motions in limine.
        Final Pretrial Conference. Held in person unless otherwise       Sept. 5, 2023
        requested.
        Jury Selection/Trial.                                            Sept. 25, 2023


SO ORDERED



Dated: July 27, 2022.

                                          ____________________________________________
                                            Honorable Judge Alan D. Albright
                                            UNITED STATES DISTRICT COURT JUDGE




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